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April 11, 2022



VIA CM/ECF

Honorable Gerald A. McHugh
James A. Byrne United States Courthouse
601 Market Street
Philadelphia, PA 19106

          Re: United States v. Islam, et al., Crim. No. 20-45

Dear Judge McHugh:

        My firm represents Defendant Dawn Chavous in the above-referenced matter. On
March 23, 2022, I sent the attached letter brief to the Court via electronic mail to preclude the
Government from eliciting testimony regarding my statements during a meeting in April 2017.
Although the Court has already ruled on the motion, we submit it again now as Exhibit 1 solely
for the purpose of filing it on the public docket.


Respectfully,

/s/ Barry Gross
Barry Gross
Senior Counsel

cc:       All counsel of record
